             Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 1 of 32



                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


TINA MICHELLE BRAUNSTEIN,
                                            Civil Case No. 1:16-cv-08879 (VSB)
Plaintiff,

-against-

SAHARA PLAZA, LLC and THE PLAZA
HOTEL, a FAIRMONT MANAGED HOTEL,               (Electronically Filed Document)

Defendants.




______________________________________________________________________________


            MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
        MOTION FOR SUMMARY JUDGMENT DISMISSING THE COMPLAINT

____________________________________________________________________________


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               Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 2 of 32


                                                   TABLE OF CONTENTS



                                                                                                                                      Page



PRELIMINARY STATEMENT ................................................................................................... 1
STATEMENT OF FACTS ............................................................................................................ 3
STANDARD FOR GRANTING SUMMARY JUDGMENT ....................................................... 3
ARGUMENT ................................................................................................................................. 5
          I.         THE FIRST CAUSE OF ACTION MUST BE DISMISSED, BECAUSE
                     PLAINTIFF CAN NEITHER MEET HER PRIMA FACIE BURDEN
                     NOR ESTABLISH THAT DEFENDANTS’ ARTICULATED REASONS
                     FOR HER TERMINATION WERE A PRETEXT FOR GENDER OR
                     ETHNICITY DISCRIMINATION ........................................................................ 5
                                A.         Plaintiff Has Not Satisfied the Applicable Discrimination
                                           Claim Standards ............................................................................. 5
                                B.         Plaintiff Cannot Establish a Prima Facie Case Because She
                                           Cannot Demonstrate that She Performed Her Job
                                           Satisfactorily .................................................................................. 7
                                C.         Ms. Braunstein Has Produced No Discriminatory
                                           “Inference” Evidence, Which Is Necessary To Satisfy Her
                                           Prima Facie Burden........................................................................ 9
                                           1.         Plaintiff's allegations are wholly uncorroborated and
                                                      do not establish a link to a discriminatory animus ........... 10
                                           2.         The “same actor” inference refutes Plaintiff’s
                                                      claims ............................................................................... 13
                                D.         Ms. Braunstein Has Produced No Evidence that
                                           Defendants’ Articulated Reasons for Her Termination Were
                                           Pretextual ..................................................................................... 14
          II.        THE FIRST CAUSE OF ACTION, TO THE EXTENT IT ALLEGES
                     “ETHNICITY” DISCRIMINATION UNDER TITLE VII, AND THE
                     SEVENTH CAUSE OF ACTION, WHICH ALLEGES AGE
                     DISCRIMINATION UNDER THE ADEA, MUST BE DISMISSED FOR
                     LACK OF SUBJECT MATTER JURISDICTION, BECAUSE
                     PLAINTIFF’S ETHNICITY AND AGE CLAIMS DO NOT
                     REASONABLY RELATE TO HER EEOC CHARGE ...................................... 16




                                                                     -i-
            Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 3 of 32


                                                  TABLE OF CONTENTS

                                                             (continued)

                                                                                                                                    Page



          III        THE SECOND CAUSE OF ACTION, ALLEGING HOSTILE WORK
                     ENVIRONMENT, MUST BE DISMISSED BECAUSE, UNDER THE
                     TOTALITY OF THE CIRCUMSTANCES, THE INCIDENTS AND
                     CONDUCT CHALLENGED BY PLAINTIFF WERE NOT
                     OBJECTIVELY PERVASIVE OR SEVERE TO ALTER THE
                     CONDITIONS OF PLAINTIFF’S EMPLOYMENT.......................................... 18
          IV.        THE THIRD CAUSE OF ACTION, ALLEGING RETALIATION,
                     MUST BE DISMISSED BECAUSE PLAINTIFF HAS NOT
                     PRODUCED ANY PROBATIVE EVIDENCE OF A “CAUSAL
                     CONNECTION” BETWEEN HER TERMINATION AND ANY
                     INTERNAL COMPLAINTS ABOUT STAFF THAT SHE RAISED ............... 20
                                A.        Plaintiff Does Not Meet the Applicable Retaliation Claim
                                          Standards ...................................................................................... 20
                                B.        Plaintiff Has Produced No Evidence Establishing A Causal
                                          Connection Between Any Alleged “Materially Adverse
                                          Employment Action” She Suffered And The So-Called
                                          “Discrimination” Claims She Raised ........................................... 21
          V          PLAINTIFF’S FOURTH CAUSE OF ACTION, SOUNDING IN
                     NEGLIGENCE, MUST BE DISMISSED BECAUSE IT IS PREEMPTED
                     BY THE WORKER’S COMPENSATION LAW ............................................... 22
          VI         PLAINTIFF’S FIFTH AND SIXTH CAUSES OF ACTION FAIL AS A
                     MATTER OF LAW, BECAUSE IT IS UNDISPUTED THAT
                     DEFENDANTS INVESTIGATED PLAINTIFF’S CLAIMS............................. 23
CONCLUSION ............................................................................................................................ 25




                                                                   -ii-
             Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 4 of 32


                                                TABLE OF AUTHORITIES

                                                                                                                                  Page(s)


FEDERAL CASES

Alfano v. Costello,
    294 F.3d 365 (2d Cir. 2002).....................................................................................................16

Anderson v. Liberty Lobby,
   477 U.S. 242 (1986) ...............................................................................................................3, 4

BellSouth Telecomms. V. W.R. Grace & Co.,
    77 F.3d 603 (2d Cir. 1996).........................................................................................................4

Brennan v. Metro. Opera Ass’n,
   192 F.3d 310 (2d Cir. 1999).....................................................................................................18

Butts v. City of New York Dep’t of Hous. Pres. & Dev.,
   990 F.2d 1397 (2d Cir. 1992)...................................................................................................17

Campbell v. Alliance Nat’l Inc.,
  107 F. Supp. 2d 234 (S.D.N.Y. 2000)................................................................................12, 13

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) ...................................................................................................................3

Cianciosi v. Home Depot U.S.A., Inc.,
   1999 WL 1024119 (2d Cir. Oct. 28, 1999) ................................................................................9

Clerge v. Edison,
   1999 U.S. Dist. LEXIS 5811, No. 95 Civ. 9072, 1999 WL 239688 (S.D.N.Y.
   Apr. 23, 1999) ..........................................................................................................................21

Council v. Tri-Star Construction Company,
   No. 01 Civ. 11788, 2004 U.S. Dist. Lexis 1921, 2004 WL 253298 (S.D.N.Y.
   Feb. 10, 2004) ..........................................................................................................................13

Cunningham v. Consol. Edison Inc.,
   2006 U.S. Dist. LEXIS 22482, 2006 WL 842914 (E.D.N.Y. Mar. 28, 2006) .........................17

Del Franco v. New York City Off-Track Betting Corp.,
   429 F.Supp.2d 529 (E.D.N.Y. 2006), aff’d, 245 Fed. Appx. 42 (2d Cir. 2007) ......................17

DiCola v. SwissRe Holding,
   996 F.2d 30 (2d Cir. 1993).........................................................................................................6


                                                                    -iii-
            Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 5 of 32




Fay v. Oxford Health Plan,
   287 F.3d 91 (2d Cir. 2002).........................................................................................................3

Ferris v. Delta Air Lines, Inc .,
   277 F.3d 128 (2d Cir. 2001).....................................................................................................22

Gayle v. Gonyea,
   313 F.3d 677 (2d Cir. 2002).......................................................................................................3

Genao v. Avon Salon & Spa,
   2008 U.S. Dist. LEXIS 3809, 2008 WL 190605 (S.D.N.Y. Jan. 9, 2008) ..............................13

Grady v. Affiliated Central, Inc.,
   130 F.3d 553 (2d Cir. 1997).....................................................................................................13

Hawana v. City of New York,
  230 F. Supp. 2d 518 (S.D.N.Y. 2002)......................................................................................12

Henry v. Wyeth Pharms., Inc.,
   616 F.3d 134 (2d Cir. 2010).....................................................................................................10

Hollander v. American Cyanamid Co.,
   894 F.2d 80 (2d Cir. 1990).......................................................................................................21

Holtz v. Rockefeller & Co., Inc.,
   258 F.3d 62 (2d Cir. 2003).......................................................................................................17

Hu v. UGL Servs. Unicco Operations Co.,
   No. 13-Civ-4251, 2014 U.S. Dist. LEXIS 145552, 2014 WL 5042150
   (S.D.N.Y. Oct. 9, 2014) .............................................................................................................5

Katz v. Beth Israel Medical Center,
   2001 U.S. Dist. LEXIS 29, 2001 WL 11064 (S.D.N.Y. Jan. 4, 2001) ....................................17

Kessler v. Westchester County Dep’t of Soc. Servs.,
   461 F.3d 199 (2d Cir. 2006).....................................................................................................21

Legnani v. Alitalia Linee Aeree Italiane, S.P.A.,
   274 F.3d 683 (2d Cir. 2001).....................................................................................................16

Love v. City of N.Y. Dep’t of Consumer Affairs,
   390 F. Supp.2d 362 (S.D.N.Y. 2005).......................................................................................18

Mario v. P & C Food Markets, Inc.,
  313 F.3d 758 (2d Cir. 2002).......................................................................................................5

Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
   475 U.S. 574 (1986) ...................................................................................................................3

                                                                  -iv-
            Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 6 of 32




McDonnell Douglas Corp. v. Green,
  411 U.S. 792 (1973) ...................................................................................................................5

Ming Yen Hou v. N.Y. City Dep’t of Envtl. Prot.,
   321 Fed. Appx. 60 (2d Cir. 2009) ..............................................................................................6

Patterson v. County of Oneida,
   375 F.3d 206 (2d Cir. 2004).....................................................................................................18

Salahuddin v. Coughlin,
   781 F.2d 24 (2d Cir. 1986).........................................................................................................4

Schnabel v Abramson,
   232 F3d 83 (2d Cir 2000).........................................................................................................13

SEC v. Mattera,
   No. 11 Civ. 8323, 2013 U.S. Dist. LEXIS 174163, 2013 WL 6485949
   (S.D.N.Y. Dec. 6, 2013).............................................................................................................4

Taylor v. Abercrombie & Fitch Stores, Inc.,
   No. 08-CV-3264, 2010 U.S. Dist. LEXIS 110519, 2010 WL 4168631
   (E.D.N.Y. Oct. 18, 2010) ...................................................................................................20, 21

Terry v. Ashcroft,
   336 F.3d 128 (2d Cir. 2003).................................................................................................5, 20

Texas Dep’t of Comty. Affairs v. Burdine,
   450 U.S. 248 (1981) ...................................................................................................................5

Tomassi v. Isignia Fin. Grp., Inc.,
   479 F.3d 111 (2d Cir. 2007).....................................................................................................10

Ulrich v. Moody’s Corp., No. 13-cv-8 (VSB), 2017 WL 1232709 (S.D.N.Y.
   March 31, 2017) aff’d, 2018 WL 357539 (2d Cir. Jan. 11, 2018) .........................................3, 4

Varughese v. Mount Sinai Med. Ctr.,
   No. 12 Civ. 8812, 2015 U.S. Dist. LEXIS 43758, 2015 WL 1499618
   (S.D.N.Y. March 27, 2015)........................................................................................................3

STATE CASES

Ferrante v. American Lung Ass’n,
   90 N.Y.2d 623 (1997) ........................................................................................................ 5fn. 2

Martinez v. Canteen Vending Servs. Roux Fine Dining Chartwheel,
  18 A.D.3d 274 (1st Dep’t 2005) ..............................................................................................23



                                                                   -v-
             Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 7 of 32




McGrath v. Toys “R” Us, Inc.,
  3 N.Y.3d 421, 788 N.Y.S.2d 281 (2004) ........................................................................... 5fn. 2

FEDERAL STATUTES

Age Discrimination in Employment Act of 1967 ....................................................................16, 17

Title VII of the Civil Rights Act of 1964............................................................................... passim

STATE STATUTES

New York Workers’ Compensation Law §§ 11 and 29(6) ......................................................22, 23

RULES

Fed. R. Civ. P. 56(c) ........................................................................................................................3

Local Rule 56.1 ................................................................................................................................3




                                                                     -vi-
             Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 8 of 32



                                      PRELIMINARY STATEMENT

         Defendants Sahara Plaza, LLC (“Sahara” or the “Hotel”) and Fairmont Hotels & Resorts

(Maryland) LLC (incorrectly identified in the Complaint as “The Plaza Hotel, a Fairmont

Managed Hotel”) (collectively, the “Defendants”) respectfully submit this memorandum of law

in support of their motion for summary judgment seeking dismissal in its entirety of the

Complaint filed by Plaintiff Tina Michelle Braunstein (“Plaintiff” or “Ms. Braunstein”).

         The Complaint consists of Seven Causes of Action:

         •    The First alleges that Defendants discriminated against Plaintiff on the basis of her

              gender and ethnicity, in violation of Title VII of the Civil Rights Act of 1964, as

              amended (“Title VII”) and “New York law.”

         •    The Second alleges that Defendants created an “intimidating, hostile and offensive

              work environment in violation of Title VII and “New York law.” 1

         •    The Third alleges that Defendants retaliated against Plaintiff, in violation of Title VII

              and “New York law.”

         •    The Fourth alleges that Defendants violated their common law duties by engaging in

              “Negligent Supervision.”

         •    The Fifth, though entitled “Violation of NYC HRL,” solely alleges that Defendants

              violated New York State Human Rights Law (“NYSHRL”) § 296(3)(a) by failing to

              act on Plaintiff’s claims of discrimination, harassment and hostile work environment.

1
    Plaintiff’s counsel conceded in his letter to the Court dated October 4, 2017 that with respect to her hostile work
    environment claim, “Plaintiff does not put forth allegations of sexual harassment because with her personality
    they wouldn’t dare.” (Declaration of David I. Rosen dated March 14, 2018 (“Rosen Decl.”), Ex. 9, ECF Doc.
    No. 22). At the Pre-Motion Conference on October 6, 2017 (“Pre-Motion Conference”), Plaintiff’s counsel
    clarified that the actors in the phrase, “they wouldn’t dare,” referred to representatives of Defendants (Rosen
    Decl., Ex. 4, at 20:03-08) (emphasis added), and that her hostile work environment claim was based solely on
    alleged gender-biased comments and physical activities that were not sexual in nature. (Id. at 21:22-22:22).

                                                          1
         Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 9 of 32



           •    The Sixth, though entitled “Violation of NYCHRL Title 8 of the Administrative

               Code of the City of New York § 8-107,” solely alleges that Defendants violated

               NYSHRL § 296(3)(a) by failing to act on Plaintiff’s claims of discrimination,

               harassment and hostile work environment, which is the same allegation she made

               in the Fifth Cause of Action.

           •    The Seventh alleges that Plaintiff, 47 years of age, was terminated because of her

               age, in violation of the Age Discrimination in Employment Act (“ADEA”).

For the reasons explained in detail below, summary judgment should be granted to Defendants

because there are no genuine issues of material fact to be tried with respect to any of the

foregoing causes of action, and Defendants are entitled to judgment as a matter of law.

       It is noteworthy that during the past 15 years, Ms. Braunstein has been involuntarily

terminated by six different employers (including Sahara). (See Defendants’ Local Rule 56.1

Statement of Undisputed Facts, ¶ 43). And prior to commencing employment with the Hotel,

Ms. Braunstein filed, individually or as a co-plaintiff, at least three other federal court civil

actions against her previous employers; in two of those actions, Plaintiff asserted claims of

gender-based discrimination and retaliation following her terminations. (See id., ¶ 44). After

being terminated by Sahara before completing her probationary period due to well-documented

performance issues, Plaintiff, as part of this continuing pattern of suing her former employers,

commenced this action against Defendants alleging discrimination and retaliation as the cause of

her employment loss. This action has no more merit than her previous ones.




                                                2
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 10 of 32



                                  STATEMENT OF FACTS

       Defendants respectfully refer the Court’s attention to Defendants’ Local Rule 56.1

Statement of Undisputed Material Facts as to Which There Is No Genuine Issue to be Tried

(“Defs.’ 56.1”), which summarizes the facts relevant to the instant motion and the evidentiary

support for same. Other relevant facts are discussed within the body of the Argument.

                 STANDARD FOR GRANTING SUMMARY JUDGMENT

       Summary judgment is warranted “when the parties’ submissions show that there is no

genuine issue as to any material fact and the moving party is entitled to judgment as a matter of

law.” Ulrich v. Moody’s Corp., No. 13-cv-8 (VSB), 2017 WL 1232709, at *10 (S.D.N.Y. March

31, 2017) (citing Fay v. Oxford Health Plan, 287 F.3d 91, 2013 (2d Cir. 2002)), aff’d, 2018 WL

357539 (2d Cir. Jan. 11, 2018); see also Fed. R. Civ. P. 56(c). “An issue of fact is genuine only

‘if the evidence is such that a jury could return a verdict for the nonmoving party.’” Gayle v.

Gonyea, 313 F.3d 677, 682 (2d Cir. 2002) (quoting Anderson v. Liberty Lobby, 477 U.S. 242

(1986)). Summary judgment provides a procedure whereby unfounded claims—such as those

asserted in the instant action—can be eliminated without recourse to a costly, time-consuming

and unnecessary trial. Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).

       To defeat this summary judgment motion, Plaintiff must raise a genuine issue of material

fact and “must do more than simply show that there is some metaphysical doubt as to the

material facts.” Moody’s Corp., 2017 WL 1232709, at *10 (citing Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 586, (1986)). “The fact that [Plaintiff] is proceeding pro se

does not otherwise relieve [her] from the usual requirements of summary judgment.” Id. at *32

(citations omitted); see Varughese v. Mount Sinai Med. Ctr., No. 12 Civ. 8812, 2015 U.S. Dist.

LEXIS 43758, *9-10, 2015 WL 1499618, at *4 (S.D.N.Y. March 27, 2015) (“Even a pro se party

‘may not rely simply on conclusory allegations or speculation to avoid summary judgment, but

                                               3
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 11 of 32



instead must offer evidence to show that [her] versions of the events are not wholly fanciful.”).

Indeed, “‘[t]he summary judgment stage is an appropriate juncture to identify the real issues in a

case,’ even where a party proceeds pro se.” SEC v. Mattera, No. 11 Civ. 8323, 2013 U.S. Dist.

LEXIS 174163, at *16, 2013 WL 6485949, at *6 (S.D.N.Y. Dec. 9, 2013) (quoting Salahuddin v.

Coughlin, 781 F.2d 24, 29 (2d Cir. 1986)).

       A fact is not disputed “simply because [Plaintiff] conclusorily proclaims it to be so if the

underlying evidence clearly contradicts that assertion.” Moody’s Corp., 2017 WL 1232709, at

*10 (citing BellSouth Telecomms. v. W.R. Grace & Co., 77 F.3d 603, 615 (2d Cir. 1996)). “The

‘mere existence of a scintilla of evidence’ supporting the non-movant’s case is also insufficient

to defeat summary judgment.” Niagara Mohawk Power Corp. v. Jones Chem., Inc., 315 F.3d

171, 175 (2d Cir. 2003) (quoting Anderson, 477 U.S. at 252).




                                                4
          Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 12 of 32



                                               ARGUMENT

                                                      I.

                 THE FIRST CAUSE OF ACTION MUST BE DISMISSED,
                 BECAUSE PLAINTIFF CAN NEITHER MEET HER PRIMA
                 FACIE BURDEN NOR ESTABLISH THAT DEFENDANTS’
                 ARTICULATED REASONS FOR HER TERMINATION
                 WERE A PRETEXT FOR GENDER OR ETHNICITY
                 DISCRIMINATION

         A.                 bmankovet/temp87

         At the summary judgment stage, the Second Circuit analyzes Title VII claims under the

burden-shifting framework established in McDonnell Douglas Corp. v. Green, 411 U.S. 792,

802-04 (1973) and Texas Dep’t of Comty. Affairs v. Burdine, 450 U.S. 248, 252-53 (1981).

Under this framework, Plaintiff must first establish by a preponderance of the evidence a prima

facie case of discrimination. To do so, Plaintiff must show that (1) she belongs to a protected

class; (2) she was performing her job satisfactorily; (3) she was discharged; and (4) her discharge

occurred under circumstances giving rise to an inference of discrimination on the basis of her

gender or ethnicity. Terry v. Ashcroft, 336 F.3d 128, 138 (2d Cir. 2003); Mario v. P & C Food

Markets, Inc., 313 F.3d 758, 767 (2d Cir. 2002).2

         If Plaintiff carries her prima facie burden, which she cannot, Defendants then need only

“offer a legitimate, non-discriminatory rationale for [their] actions.’” Id. (quoting Terry v.

Ashcroft, 336 F.3d 128, 138 (2d Cir. 2003)). Defendants have succeeded in doing so by offering

evidence that Plaintiff’s termination was based on her poor work performance. See, e.g., Hu v.

UGL Servs. Unicco Operations Co., No. 13 Civ. 4251, 2014 U.S. Dist. LEXIS 145552, at *13-


2
    To the extent that the claims alleged in the First Cause of Action arise under the NYSHRL, the McDonnell-
    Douglas/Burdine standards applicable to Title VII claims equally apply. See McGrath v. Toys "R" Us, Inc., 3
    N.Y.3d 421, 429, 788 N.Y.S.2d 281, 284 (2004) (federal burden-shifting standards apply to claims brought
    under the NYSHRL); Ferrante v. American Lung Ass’n, 90 N.Y.2d 623, 629-31 (1997) (“The standards for
    recovery under [the NYSHRL] are in accord with Federal standards under [T]itle VII. . . .”).


                                                       5
           Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 13 of 32



14, 2014 WL 5042150, at *5 (S.D.N.Y. Oct. 9, 2014) (plaintiff’s undisputed and documented

failures to adhere to policies and procedures sufficient to establish legitimate, nondiscriminatory

reason).     Defendants are merely required to articulate, but not prove, a legitimate, non-

discriminatory reason for its employment action.                 The burden is one of production, not

persuasion, and it is not onerous. See Fisher, 114 F.3 at 1335-36 ("Any legitimate, non-

discriminatory reason will rebut the presumption triggered by the prima facie case. Thus, '[t]he

defendant need not persuade the court that it was actually motivated by the proffered reasons'");

Davis, 1997 WL 655935, at *8 ("In order to explain its conduct in a satisfactory manner,

defendant need only articulate a legitimate non-discriminatory reason."); DiCola v. SwissRe

Holding, 996 F.2d 30, 32 (2d Cir. 1993).

         Once Defendants are able to make such a showing, which is easily met here, Plaintiff has

the burden to “present sufficient evidence that the employer’s proffered reason is a pretext for an

impermissible motivation.” Ming Yen Hou v. N.Y. City Dep’t of Envtl. Prot., 321 Fed. Appx. 60,

62 (2d Cir. 2009). Plaintiff’s evidence must “‘permit a rational finder of fact to infer that the

defendant’s employment decision was more likely than not based in whole or in part on

discrimination.’” Aulicino, 580 F.3d at 80 (internal quotation marks omitted).

         d       Eliana102

evidence that the reasons given for her termination were pretextual.3


3
    To the extent the Court considers the viability of Plaintiff’s claims under the New York City Human Rights Law
    (“NYCHRL”), Plaintiff fails to meet that law’s standards. The NYCHRL imposes vicarious liability upon
    employers only where (1) the employee or agent exercised managerial or supervisory responsibility; (2) the
    employer “knew of the employee’s or agent’s discriminatory conduct, and acquiesced in such conduct or failed
    to take immediate and appropriate corrective action”; or (3) the employer “should have known of the employee’s
    or agent’s discriminatory conduct and failed to exercise reasonable diligence or prevent such discriminatory
    conduct.” Zakrzewska v. New York, 14 N.Y.3d 469, 477 (2010) (citing NYCHRL, § 8-107). Plaintiff has
    accused, among others, her co-worker Edmund McSloy of discrimination, but he is not a manager or supervisor.
    With respect to her allegations against the supervisors and/or managers, the record contains abundant evidence
    that Defendants took prompt remedial action and exercised reasonable diligence to address all internal
    complaints by Ms. Braunstein. (Defs.’ 56.1, ¶¶ 12-14, 18, 20, 29-32, 35). Indeed, Evan Hunt (“Mr. Hunt”), then

                                                        6
         Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 14 of 32



        B.       Plaintiff Cannot Establish a Prima Facie Case Because She Cannot
                 Demonstrate that She Performed Her Job Satisfactorily

        At her deposition, Ms. Braunstein acknowledged that, among other requirements, her

position required the following: must have “[e]xcellent communication . . . skills,” “strong

interpersonal . . . abilities,” and the “ability to work cohesively with fellow colleagues as part of

a team.”     (Defs.’ 56.1, ¶ 2; Rosen Decl., Ex. 1, 139:14-20; 145:1-14; 146:14-20).                            Ms.

Braunstein’s performance deficiencies are well-documented. Nevertheless, Ms. Braunstein asks

the Court to ignore the record evidence and find that she was discharged because of her gender

and ethnicity. Ms. Braunstein fails to show that she performed her job satisfactorily. Despite

repeated counseling, meetings, and a highly critical written performance evaluation, Ms.

Braunstein demonstrated continued unacceptable workplace conduct throughout her employment

at the Hotel:

        •    On December 10, 2014, Edmund McSloy (“Mr. McSloy”), a fellow bartender, said
             that Ms. Braunstein was very hostile and aggressive. (Defs.’ 56.1, ¶ 15; Affidavit of
             Karen Wenger dated March 13, 2018 (“Wenger Aff.”), Ex. H).

        •    When Mr. McSloy asked Ms. Braunstein to take the order of two guests, Mr. McSloy
             reported that Ms. Braunstein threatened him and said words to the effect, “You don’t
             know who you are messing with, go fuck yourself” and that she “has an uncle who is
             an attorney.” (Defs.’ 56.1, ¶ 15; Wenger Aff., Ex. H).

        •    According to Edwin Marini (“Mr. Marini”), another fellow bartender, Ms. Braunstein
             “was aggressive, bossy and used foul language” and had not been getting along with
             the other staff members. (Defs.’ 56.1, ¶ 16; Wenger Aff. Ex. H).

        •    On December 13, 2014, Johann Widnersson (“Mr. Widnersson”) reported an incident
             involving an argument with Ms. Braunstein to Mr. Hunt, then the Hotel’s Assistant
             Director of Human Resources, and Martin Mariano (“Mr. Mariano”). (Defs.’ 56.1, ¶
             17; Wenger Aff. Ex. I). Mr. Widnersson wrote in that email: “It was a bizarre argue
             [sic] and her aggressiveness occurred from nowhere.” (Defs.’ 56.1, ¶ 17; Wenger
             Aff. Ex. I). Mr. Widersson noted that he “[doesn’t] consider [Ms. Braunstein] a good

   the Assistant Director of Human Resources, testified that each of Plaintiff’s complaints were thoroughly
   investigated. (See Rosen Decl., Ex. 3, at 36:25-40:14). In fact, during these investigations Defendants
   discovered that several of Plaintiff’s male and female colleagues were alleging that they were victims of bullying
   by Plaintiff. (See id. at 39:19-40:3; 46:15-47:6).


                                                         7
          Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 15 of 32



             team player, and her negative attitude effects the entire team” and that “[i]t feels like
             she is looking for trouble. I do also believe that her colleagues find it hard to work
             with her due to the above mentioned.” (Defs.’ 56.1, ¶ 17; Wenger Aff. Ex. I).

         •   On December 18, 2014, Mr. Mariano met with Ms. Braunstein concerning her
             performance and attitude issues, in the presence of the union delegate and Mr.
             Widersson. (Defs.’ 56.1, ¶ 18; Wenger Aff. Ex. J).

         •   Per Ms. Braunstein’s written performance appraisal dated January 9, 2015, Mr.
             Widnersson checked the “NO” box with respect to each of the following behaviors:
             respect for others, professionalism, quality of work, productivity, positive attitude,
             cooperative, accepts responsibility, reliability, attendance and punctuality, team
             player, and leadership. Mr. Widnersson rated Ms. Braunstein’s overall performance
             on that appraisal as “Below.” (Defs.’ 56.1, ¶ 21; Wenger Aff. Ex. L).

         •   On January 12, 2015, Ms. Braunstein sent an angry email to Mr. Widnersson, despite
             Mr. Mariano’s instructions to her to raise her concerns with Mr. Mariano directly.
             Mr. Mariano counseled Ms. Braunstein, informed her that her email was disrespectful
             in tone, and again asked Ms. Braunstein to refrain from sending such emails and
             instead speak with Mr. Mariano in person to discuss the review. (Defs.’ 56.1, ¶¶ 24-
             26, 29; Wenger Aff., Ex. O).4

         •   Roberto Rosa (“Mr. Rosa”), a fellow bartender at the Hotel, repeatedly complained to
             management, both verbally and in writing, about “continued harassment by [Ms.]
             Braunstein” against him for “almost 5 months.” (Defs.’ 56.1, ¶¶ 23, 37-38; Wenger
             Aff., Exs. N, S, T). Mr. Rosa reported that he “was upset about the treatment he [had]
             been getting from Tina” and felt “very unsupported by Tina as a co-worker.” (Defs.’
             56.1, ¶ 24; Wenger Aff., Ex. N). He further complained Ms. Braunstein was “bossy
             and aggressive,” “put [him] and others down,” and caused him stress and anxiety,
             which “started affecting [his] ability to perform [his] job.” (Defs.’ 56.1, ¶¶ 24, 36-37;
             Wenger Aff., Exs. N, S, T). Mr. Rosa also complained to his manager that Ms.
             Braunstein created an unacceptable working environment, was condescending and
             insulting to him, and “picked on” and belittled him on a daily basis, and stated that he
             “wasn’t worthy to work the bar.” (Defs.’ 56.1, ¶¶ 36-37; Wenger Aff., Exs. S, T).
             He also complained that Ms. Braunstein called him a “schmuck” and demeaned him
             in front of a guest. (Defs.’ 56.1, ¶ 36; Wenger Aff. Ex. S).

         •   Three female servers complained that Ms. Braunstein had “made derogatory remarks
             about them to the manager in a loud enough voice that they could hear [her].” (Defs.’
             56.1, ¶ 36; Wenger Aff., Ex. R). Mr. Mariano advised Ms. Braunstein of these
             complaints, and wrote, “Please use caution when discussing your coworkers with the
             management. I am always happy to facilitate a meeting regarding professional
             behavior.” (Defs.’ 56.1, ¶ 35; Wenger Aff., Ex. R).

4
    Notably, Plaintiff did not state in that email that she felt the performance review she received discriminated
    against her based on any of her protected characteristics. (Defs.’ 56.1, ¶ 27; see Wenger Aff. Ex. O).


                                                        8
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 16 of 32



       By her own admission, Ms. Braunstein (i) has a strong personality, (ii) has a personality

that others occasionally find offensive, (iii) has “absolutely” had disagreements with co-workers,

(iv) was sure that arguments between her and her co-workers have happened, (iv) is a person

who at times has an “edge” in her voice, (v) told Mr. Mariano during one of their conversations

that she was “someone with an edge,” and that she was referring to her “personality,” (vi)

“absolutely” has a strong personality because she is from New York. (Defs.’ 56.1, ¶ 34; Rosen

Decl., Ex. 1, 86:2-8; 86:12-24; 87:3-14; see also Rosen Decl., Ex. 5). The record confirms that

Ms. Braunstein engaged in numerous arguments with her co-workers and was viewed by both

male and female coworkers alike as offensive and a bully. (Defs.’ 56.1, ¶¶ 15-17, 23, 35-37;

Wenger Aff., Exs. H, I, N, R, S, T; Rosen Decl., Ex. 2, at 180:20-181:16; Rosen Decl., Ex. 3, at

39:19-40:14; 46:15-47:6).

       C.      Ms. Braunstein Has Produced No Discriminatory “Inference” Evidence,
               Which Is Necessary To Satisfy Her Prima Facie Burden

       Ms. Braunstein also cannot satisfy the fourth element of a prima facie case of gender

and/or ethnicity discrimination because the record does not contain any evidence that would give

rise to an inference that her termination was the product of either gender-based or ethnicity-based

discrimination. See Brown v. Northrop Grumman Corp., 2014 U.S. Dist. LEXIS 11618, 2014

WL 4175795, at *16-18 (“‘[a] plaintiff's speculations, generalities, and gut feelings, however

genuine, when they are not supported by specific facts, do not allow for an inference of

discrimination to be drawn.’”) (internal quotations and citation omitted). Plaintiff “cannot raise

an inference of discrimination without some evidence of discriminatory motive or disparate

treatment on the basis of membership in a protected class.” Cianciosi v. Home Depot U.S.A.,

Inc., 1999 WL 1024119 (2d Cir. Oct. 28, 1999) (granting summary judgment on plaintiff’s Title




                                                9
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 17 of 32



VII and NYSHRL claims finding plaintiff’s allegations that she was transferred due to her

gender did not raise an inference of sex discrimination).

               1.      Plaintiff's allegations are wholly uncorroborated and do not establish
                       a link to a discriminatory animus.

       Plaintiff’s allegations regarding stray comments are insufficient to raise an inference of

discrimination on the basis of gender or ethnicity. In determining whether a remark is probative

of discriminatory intent, courts in the Second Circuit consider four factors:

       (1) who made the remark (i.e., a decision-maker, a supervisor, or a low-level co-
       worker); (2) when the remark was made in relation to the employment decision at
       issue; (3) the content of the remark (i.e., whether a reasonable juror could view
       the remark as discriminatory); and (4) the context in which the remark was made
       (i.e., whether it was related to the decision-making process).

Henry v. Wyeth Pharms., Inc., 616 F.3d 134, 149 (2d Cir. 2010) (collecting cases). “[T]he more

remote and oblique the remarks are in relation to the employer’s adverse action, the less they

prove that the action was motivated by discrimination.” Id. (quoting Tomassi v. Isignia Fin.

Grp., Inc., 479 F.3d 111, 115 (2d Cir. 2007) (internal quotation marks omitted).

       In Wesley-Dickson v. Warwick Valley Cent. Sch. Dist., the plaintiff, a school district

employee, alleged that several purportedly discriminatory comments were made by both an

assistant superintendent and plaintiff’s supervisor, who had submitted performance evaluations

for the plaintiff. The court held that her discrimination claims failed because, inter alia, there

was no evidence that the discriminatory comments were related to the decision-making process

regarding the adverse employment action (denial of tenure), and thus, the comments did not

constitute sufficient evidence to support an inference of discrimination. 973 F.Supp. 2d 386, 399

(S.D.N.Y. 2013). Likewise, Plaintiff has attempted to support her gender discrimination claim

by alleging that the following comments were made to her: during a meeting with Plaintiff, Mr.




                                                10
          Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 18 of 32



Mariano “referred to [her] as a bitch and spelled it out”5 (Rosen Decl., Ex. 1, at 96:13-25); Mr.

Deroui called her a bitch on “at least a couple of occasions” and stated “grow up and stop being

such a baby” on one occasion (id. at 101:8-15); Mr. Deroui referred to Plaintiff as a “bar back”,

which Plaintiff admitted was “just a person who supports a bartender” (id. at 101:12-18); Mr.

Deroui “made a comment about Jews owning the banks and the media,” a comment that Plaintiff

did not allege was specifically directed at her or to her work (id. at 101:19-23); and Mr. McSloy,

a morning bartender, on a single occasion purportedly prevented Plaintiff from setting up for her

afternoon/evening shift and yelled at her (id. at 116:21-117:7). Plaintiff also alleged that Mr.

Widnersson’s “general reaction” to her was “misogynistic,” and when asked to explain this

vague allegation, Plaintiff offered the following ambiguous explanation: “If I said something

5
    Without Mr. Mariano’s knowledge and consent, Plaintiff secretly recorded this meeting on January 15, 2015 on
    her iPhone. (Defs.’ 56.1, ¶ 32; Rosen Decl., Ex. 5). During discovery, Plaintiff produced this recording, which
    revealed that Mr. Mariano spelled out the word “bitch” in the context of working with Plaintiff to help her
    overcome her performance deficiencies and facilitate better relationships with her colleagues, including her
    female colleagues; the transcript clarifies that Mr. Mariano was not spelling out the term in a derogatory manner.
    (Defs.’ 56.1, ¶ 32; Rosen Decl., ¶ 7, Ex. 5). The transcript also reveals that Plaintiff even complained that
    management treated female employees favorably. At her deposition, Plaintiff admitted that when Mr. Mariano
    spoke with her, he never raised his voice to her and listened to what she had to say. (Defs.’ 56.1, ¶ 33; Rosen
    Decl., Ex. 1, 170:1-7). The following is an excerpt of the relevant portion of the uncertified transcript of the
    recording:

         Plaintiff: “. . . That said, I’ve pointed out that the girls are very rude and snappish. . . . I’ve
         brought it up and again, with [Mr. Widnersson], the girls, they could, they walk on water. . . . And
         I’m a strong woman, and yeah when people say stuff to me, I’m going to be always professional.
         But you better believe that there’s going to be an edge in my voice. And I know that. I own that.
         I’m 20 years in this industry. I’m a native New Yorker . . . But in this situation, in this house here,
         I’m not respected, I’m not valued for it . . . .”

         Mr. Mariano: “So how do we change that? Do you think we should all have a meeting and we
         should all be candid with each other . . . . We’re a team, we need to work together. . . . Maybe we
         need to have a department meeting where we workshop with each other and really get to know
         each other. There’s going to be days where you’re going to be a B-I-T-C-H and there’s going to
         be days where they’re [referring to the female servers] going to be anxious and flip out and you
         need to be able to calm them down and get them what they need and not taking things personally
         so that they don’t reflect of an image of you that may not be fully accurate.”

         Plaintiff: “Yeah and my only thing is, and this may sound a little obnoxious, but I’m just going to
         own it, this image has worked my whole career for 20 years.”

(Defs.’ 56.1, ¶ 32; Rosen Decl., ¶ 7, Ex. 5) (emphasis added).


                                                          11
          Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 19 of 32



specific like the sky is blue, he would argue with me.” (Id. at 104:24-105:6). Even taking

Plaintiff’s allegations as true, there is no evidence that the comments demonstrated a

discriminatory animus, were made in relation to Plaintiff’s termination, or that they related in

any way to the termination decision-making process. See, e.g., Warwick Valley Cent. Sch. Dist.,

973 F. Supp. 2d at 400; Hawana v. City of New York, 230 F. Supp. 2d 518, 527 (S.D.N.Y. 2002)

(holding that a single "stray remark" did not satisfy the fourth prong of a prima facie case);

Campbell v. Alliance Nat'l Inc., 107 F. Supp. 2d 234, 247 (S.D.N.Y. 2000) ("Stray remarks by

non-decision-makers or by decision-makers unrelated to the decision process are rarely given

great weight. . . .”).

        Ms. Braunstein has repeatedly accused Defendants and their representatives of being

“misogynistic” and has asserted baseless allegations that they have engaged in gender

discrimination. (See Defs.’ 56.1, ¶ 19; Rosen Decl., Ex. 1, at 168:21-25; 198:16-199:9; 234:22-

236:2). However, the record reflects that Ms. Braunstein’s colleagues, both male and female,

viewed her as “bossy and aggressive,” “condescending or outright insulting,” and even

complained that Ms. Braunstein herself harassed and bullied members of the staff. (Defs.’ 56.1,

¶¶ 15-17, 23, 35-37; Wenger Aff., Exs. H, I, N, R, S, T; Rosen Decl., Ex. 2, at 180:20-181:16;

Rosen Decl., Ex. 3, at 39:19-40:14; 46:15-47:6).      Such reports from her male and female

coworkers led to her ultimate termination within the probationary period, and further undercut

any inference of gender discrimination.

        An inference of discrimination is equally absent with respect to Ms. Braunstein’s

ethnicity-based claim. The only evidence Ms. Braunstein provides to support this claim is her

allegation that she overheard a comment made by Mr. Deroui about “Jews owning the banks and

media.”    (Rosen Decl., Ex 1, at 101:19-23).      She neither alleges that this comment was



                                              12
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 20 of 32



specifically directed at her nor to her work. Discrimination cannot be inferred from this vague

and isolated comment. See, e.g., Genao v. Avon Salon & Spa, No. 01 Civ. 11788, 2008 WL

190605, at *2, 6 (S.D.N.Y. Jan. 16, 2008) (holding that allegation of an ethnically-based remark,

“Don’t give that fucking bitch Eleana any blow dries, these fucking Latinos are going to bring

this place down,” constituted a stray remark insufficient to support an inference of

discrimination) (internal citations omitted).

               2.      The “same actor” inference refutes Plaintiff’s claims.

       The Second Circuit recognizes that where the “same actor” (i.e., where the same person)

made the decision to hire and fire, this “strongly suggest[s] that invidious discrimination was

unlikely.” Grady v. Affiliated Central, Inc., 130 F.3d 553, 560 (2d Cir. 1997) (affirming

summary judgment of age discrimination claim where hirer and firer were same person); see also

Schnabel v Abramson, 232 F3d 83 (2d Cir. 2000) (affirming summary judgment for employer

where same manager hired and fired plaintiff, after recognizing that discriminatory motivation

would be inconsistent with manager’s decision to hire). This Court holds that the “same actor

inference remains significant” in refuting a discrimination claim, where the period between an

employee’s commencement of employment and termination date is under two years.               See

Council v. Tri-Star Construction Company, No. 01 Civ. 11788, 2004 U.S. Dist. Lexis 1921, 2004

WL 253298, at *3 (S.D.N.Y. Feb. 10, 2004) (13 months); Campbell v. Alliance National

Incorporated, 107 F. Supp. 2d 234, 248-249 (S.D.N.Y. 2000) (9 months).

       Plaintiff was employed for less than five months by the Hotel. According to Plaintiff’s

testimony, Mr. Mariano interviewed her for the bartender position. (Rosen Decl., Ex. 1, 125:4-

10). Mr. Mariano testified that he participated in the hiring of Plaintiff and was one of the

decision-makers who had input into the decision to terminate Plaintiff’s employment during her

probationary period. (Id., Ex. 2, at 91:21-23; 239:14-20). The record evidence is replete with

                                                13
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 21 of 32



evidence of Mr. Mariano’s favorable treatment towards Plaintiff and good personal relationship

with Plaintiff during her employment at the Hotel. (Id., Ex. 2, at 239:17-242:7; 245:17-246:8;

see generally id., Ex. 5).    For example, Mr. Mariano regularly met with and/or discussed

Plaintiff’s progress, performance, and potential for growth at the Hotel. (See id., Ex. 5; see also

Defs.’ 56.1, ¶¶ 29-33, 35). Plaintiff characterized her relationship with Mr. Mariano as “good.”

(Rosen Decl., Ex 1, 95:8-10). Plaintiff testified that she never accused him of being biased

against female employees. (Id. at 97:24-98:1). Accordingly, Plaintiff’s suggestion that Mr.

Mariano, in participating in the decision to terminate Plaintiff, was motivated by her gender and

ethnicity defies common sense.

       D.      Ms. Braunstein Has Produced No Evidence that Defendants’ Articulated
               Reasons for Her Termination Were Pretextual

       Even if Ms. Braunstein is deemed to have met her prima facie burden, she has failed to

adduce evidence that Defendants’ articulated reasons for her termination were not legitimate but

rather were a pretext for discrimination.

       Plaintiff’s position was covered under the terms and conditions of a collective bargaining

agreement (“CBA”) between the Hotel & Motel Trades Council (the “Union”), a labor

organization, and the Hotel Association of New York City, a multi-employer bargaining agent

representing numerous hotels, including the Hotel. (Defs.’ 56.1, ¶ 3). The Hotel and the Union

also were parties to a separate agreement which modified the CBA with respect to the operation

of the Restaurant (the “Palm Court Agreement”). (Id., ¶ 4). Plaintiff was hired during the

Restaurant’s first year of operation. (Id., ¶ 5). Pursuant to Section 2, paragraph h., of the Palm

Court Agreement, “For the first one (1) year of operation, the probationary period for new hires

shall be one hundred fifty (150) days.” (Id.). The Hotel had the authority under the CBA to




                                                14
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 22 of 32



terminate Plaintiff’s probationary period employment without affording her the right to contest

her termination under the grievance and arbitration provisions of the CBA. (Id.).

         Ms. Braunstein was told that she had not successfully completed her probationary

period. (Id., ¶ 38) The record contains abundant evidence regarding her negative attitude,

bullying behavior towards her coworkers, and inability to meet performance expectations.

(Defs.’ 56.1, ¶¶ 15-17, 23, 35-37; Wenger Aff., Exs. H, I, N, R, S, T; Rosen Decl., Ex. 2, at

180:20-181:16; Rosen Decl., Ex. 3, at 39:19-40:14; 46:15-47:6). There is no evidence reflecting

that she was terminated for any other reason.

       In Plaintiff’s counsel’s letter to the Court dated October 4, 2017, he stated that Plaintiff’s

position is that “she was never informed of any probationary period and was only shown the

CBA at her deposition.” (Rosen Decl., Ex. 9; ECF Doc. No. 22). While the relevance of this

statement is dubious at best, the factual assertion itself is patently false. In the statement Plaintiff

attached to her Charge of Discrimination (the “Charge”) before the Equal Employment

Opportunity Commission (“EEOC”), which she signed on February 8, 2016, Ms. Braunstein

readily acknowledged that “[u]pon hiring, we were told we had to complete a five-month

probation period.” (Defs.’ 56.1, ¶ 41). The argument that Ms. Braunstein was unaware of the

five-month probationary period is belied by her own written statement. Furthermore, Plaintiff’s

offer letter, which was signed by Ms. Braunstein, states on the first page, “The work you will do

is covered by an existing collective bargaining agreement between the Plaza and the New York

Hotel and Motel Trades Council, AFL-CIO.” (Id., ¶ 6).

        Plaintiff also admitted at her deposition that she never accused Mr. Mariano of being

biased against female employees. (See Rosen Decl., Ex 1, 97:24-98:1). With respect to Mr.

Deroui, Plaintiff cannot point to any evidence of gender discrimination. She merely asserts that,



                                                  15
          Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 23 of 32



on “at least a couple of occasions,” Mr. Deroui referred to her as a “bitch”; stated “grow up and

stop being such a baby” (a gender neutral comment); and referred to her as a “bar back,” which

Plaintiff admits means “just a person who supports a bartender.”                       (Id., 101:8-18).      These

comments, apparently considered by Plaintiff to be “misogynistic,” entirely fall short of meeting

Plaintiff’s heavy burden of showing that Defendant’s legitimate reason for her termination was

pretextual. See, e.g., Alfano v. Costello, 294 F.3d 365, 376, 380 (2d Cir. 2002) (holding that 12

incidents cited by plaintiff, taken together, were not sufficiently severe or pervasive to establish a

hostile work environment and further finding that seven of those incidents supported no

inference of sex-based hostility and remaining incidents were too mild to create an abusive work

environment).

                                                         II.

                  THE FIRST CAUSE OF ACTION, TO THE EXTENT IT
                  ALLEGES “ETHNICITY” DISCRIMINATION UNDER
                  TITLE VII, AND THE SEVENTH CAUSE OF ACTION,
                  WHICH ALLEGES AGE DISCRIMINATION UNDER THE
                  ADEA, MUST BE DISMISSED FOR LACK OF SUBJECT
                  MATTER JURISDICTION, BECAUSE PLAINTIFF’S
                  ETHNICITY AND AGE CLAIMS DO NOT REASONABLY
                  RELATE TO HER EEOC CHARGE

         Plaintiff’s Title VII and ADEA discrimination claims on the basis of ethnicity and age,

respectively, should be dismissed because Plaintiff failed to exhaust her administrative remedies

through the EEOC.6 "Exhaustion of administrative remedies through the EEOC is 'an essential

element of the Title VII and ADEA statutory schemes and, as such, a precondition to bringing

claims in federal court." Legnani v. Alitalia Linee Aeree Italiane, S.P.A., 274 F.3d 683, 686 (2d


6
    Plaintiff’s age discrimination claim also should be dismissed because, at the October 6, 2017 Pre-Motion
    Conference, Plaintiff’s counsel conceded that with respect to the merits, Plaintiff’s claim of age discrimination
    under the Age Discrimination in Employment Act of 1967 (“ADEA”) “is probably not sustainable.” (Rosen
    Decl., Ex. 4, 5:16-23).



                                                         16
          Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 24 of 32



Cir. 2001). A federal court may only consider those Title VII or ADEA claims that were

included in the original EEOC charge, those that are reasonably related to that charge, or those

that can reasonably be expected to grow out of the charge of discrimination. Del Franco v. New

York City Off-Track Betting Corp., 429 F.Supp.2d 529, 541 (E.D.N.Y. 2006), aff'd, 245 Fed.

Appx. 42 (2d Cir. 2007); Holtz v. Rockefeller & Co., Inc., 258 F.3d 62, 83 (2d Cir. 2003)). See

also Cunningham v. Consol. Edison Inc., 2006 U.S. Dist. LEXIS 22482, 2006 WL 842914, at

*13 (E.D.N.Y. Mar. 28, 2006) ("[W]here subsequent claims are reasonably related to claims

brought in an EEOC charge, the subsequent claims are not barred.").

          A claim not specifically included in an EEOC charge is "reasonably related" to the charge

if, for example, the subsequent claim is one for retaliation or where a subsequent claim "'alleges

further incidents of discrimination carried out in precisely the same manner.'" Katz v. Beth Israel

Medical Center, 2001 U.S. Dist. LEXIS 29, 2001 WL 11064, at * 6 (S.D.N.Y. Jan. 4, 2001)

(quoting Butts v. City of New York Dep't of Hous. Pres. & Dev., 990 F.2d 1397 at 1401 (2d Cir.

1992)).

          Here, Ms. Braunstein failed to exhaust her administrative remedies with respect to her

discrimination claims on the basis of age and ethnicity. With respect to the Charge Plaintiff filed

with the EEOC on February 8, 2016, Plaintiff checked two boxes: “sex” and “retaliation.”

(Defs.’ 56.1, ¶ 39). She did not check the “age,” “religion,” or “national origin” boxes. (Id.).

Attached to the Charge was a typewritten Statement of Charging Party (“Statement”). (Id. at

¶ 40). In the opening paragraph, Plaintiff wrote, “I believe I have been discriminated against

based on my gender.” (Id.) (emphasis added). Nowhere in the Statement did Plaintiff state that

she believed that she had been discriminated against on account of her religion, national origin or

age. (Id. at ¶ 41). In addition to the standard Notice of Right to Sue, which was issued by the



                                                 17
          Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 25 of 32



EEOC, the EEOC also issued a separate letter dated August 15, 2016. (Id. at ¶ 42). In the

second paragraph of that letter, the EEOC indicated that the Charge was based on claims of

gender discrimination. (Id.). As such, neither the EEOC nor the Defendants were on notice that

Plaintiff also was raising age and ethnicity discrimination claims. Accordingly, these claims,

which were not reasonably related to her gender discrimination claim, should be dismissed as a

matter of law.

                                                        III.

                  THE SECOND CAUSE OF ACTION, ALLEGING HOSTILE
                  WORK ENVIRONMENT,       MUST    BE  DISMISSED
                  BECAUSE,  UNDER    THE     TOTALITY  OF   THE
                  CIRCUMSTANCES, THE INCIDENTS AND CONDUCT
                  CHALLENGED     BY    PLAINTIFF    WERE    NOT
                  OBJECTIVELY PERVASIVE OR SEVERE TO ALTER THE
                  CONDITIONS OF PLAINTIFF’S EMPLOYMENT

          To sustain a hostile work environment claim based on gender7 pursuant to Title VII,

Plaintiff “must produce evidence that the workplace was permeated with discriminatory

intimidation, ridicule, and insult that was sufficiently severe or pervasive to alter the conditions

of the victim’s employment.” Love v. City of N.Y. Dep't of Consumer Affairs, 390 F. Supp.2d

362, 371-72 (S.D.N.Y. 2005) (citing Patterson v. County of Oneida, 375 F.3d 206 (2d Cir.

2004)).     Courts use a “totality of the circumstances” approach for determining whether a

plaintiff’s work environment is sufficiently hostile to support a claim of hostile work

environment. Id. Importantly, “[a] work environment will be considered hostile if a reasonable

person would have found it to be so. . . .” Brennan v. Metro. Opera Ass’n, 192 F.3d 310, 318 (2d

Cir. 1999). Plaintiff’s subjective perception of hostility may not alone support a hostile work

environment claim.        Love, 390 F. Supp.2d at 371 (the alleged conduct must have “created an

7
    Per footnote 1, supra, Defendants will not address the standards for proving a hostile work environment based on
    sexual harassment, as Plaintiff has conceded that she has not alleged that claim.


                                                        18
         Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 26 of 32



environment that a reasonable person would find hostile or abusive”); see also Salerno v. City

Univ. of N.Y., 2003 U.S. Dist. LEXIS 16474, 2003 WL 22170609, at *33 (S.D.N.Y. Sept. 16,

2003) (“[S]imple teasing offhand comments and isolated incidents (unless extremely serious)

will not amount to discriminatory changes in the ‘terms and conditions of employment.’”)

(internal citations omitted).

         Here, considering the totality of the circumstances, a reasonable person would not find

that Plaintiff’s proffered evidence reflects conduct that was sufficiently severe or pervasive on

the basis of her gender or ethnicity. With respect to gender, Ms. Braunstein claims that Mr.

Mariano called her a bitch and spelled out the word at a meeting, but a recording she produced of

this meeting revealed that Mr. Mariano did not directly call her a bitch or use the term in a

derogatory manner, but instead spelled out the word in the context of working with her to

brainstorm ways in which to improve her relationships with both her male and female colleagues

and effectively work as a team during stressful situations. (See Defs.’ 56.1, ¶ 32). Plaintiff also

alleges a single incident in which Mr. McSloy, a morning bartender, did not allow Plaintiff to

start setting up for her evening shift at the bar during the transition between the two shifts. (See

id. at ¶ 13). In an e-mail to Mr. Mariano, she complained that Mr. McSloy “did all he could to

get in my way physically, as well as constantly raising his voice to me about being in his way.”

(Id.).   Such isolated comments and incidents do not objectively amount to evidence that the

workplace was “permeated with discriminatory intimidation, ridicule and insult . . . sufficiently

severe or pervasive to alter the conditions of [Plaintiff’s employment].” Love, 390 F. Supp. 2d at

371-72 (a supervisor, using his middle finger to point things out, allegedly touched plaintiff’s

backside, and a co-worker touched plaintiff's hands when they worked together and hit plaintiff

in her chest with back of his hand; objectively viewed under the totality of the circumstances,



                                                19
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 27 of 32



these incidents were not "sufficiently severe or pervasive"). Plaintiff’s subjective belief that she

was the victim of a gender-biased hostile work environment does not satisfy the objective

“reasonable person” standard.

       With respect to her ethnicity claim, Plaintiff only points to a vague comment she claims

she overheard Mr. Deroui make about “Jews owning the banks and media” (Rosen Decl., Ex 1,

at 101:19-23), but does not allege that such comment was specifically directed at her, directed at

her work, or in some way implicated her work for Defendants. Again, under the objective

standard, a reasonable person would not find this singular comment sufficient to create a hostile

or abusive environment based on her ethnicity. Plaintiff’s allegation that Mr. Deroui told her to

“grow up and stop being such a baby” (id. at 101:8-15) does not evidence gender-bias against

Plaintiff, as the word “baby” is gender neutral; nor does it reflect that Mr. Deroui was biased

against her because of her ethnic background. As such, Plaintiff’s hostile work environment

claims fail as a matter of law.

                                                IV.

               THE THIRD CAUSE OF ACTION, ALLEGING
               RETALIATION, MUST BE DISMISSED BECAUSE
               PLAINTIFF HAS NOT PRODUCED ANY PROBATIVE
               EVIDENCE OF A “CAUSAL CONNECTION” BETWEEN
               HER    TERMINATION   AND    ANY     INTERNAL
               COMPLAINTS ABOUT STAFF THAT SHE RAISED

       A.      Plaintiff Does Not Meet the Applicable Retaliation Claim Standards

       Ms. Braunstein’s retaliation claim is subject to the same McDonnell Douglas/Burdine

burden-shifting framework that is applicable to her discrimination claims. See Summa v. Hofstra

Univ., 708 F.3d 115, 125 (2d Cir. 2013) (burden-shifting framework laid out in McDonnell

Douglas governs retaliation claims under Title VII). Taylor v. Abercrombie & Fitch Stores, Inc.,

No. 08-CV-3264, 2010 WL 4168631, at *3 (E.D.N.Y. Oct. 18, 2010) (citing Terry v. Ashcroft,


                                                20
         Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 28 of 32



336 F.3d 128, 140-41 (2d Cir. 2003)).8 The only difference lies in the elements of the prima

facie case. To establish a prima facie case of retaliation, Plaintiff must demonstrate that (1) she

engaged in a statutorily protected activity; (2) her employer was aware of this activity; (3) she

suffered an adverse employment action; and (4) there is a ‘causal connection’ between the

protected activity and the adverse employment action.” Id. (citing Kessler v. Westchester County

Dep’t of Soc. Servs., 461 F.3d 199, 205 (2d Cir. 2006)). Ms. Braunstein must do more than

simply allege a causal connection; she must produce admissible evidence upon which a

reasonable jury could conclude that she was the victim of retaliation. Hollander v. American

Cyanamid Co., 894 F.2d 80, 86 (2d Cir. 1990). She has not done so.


         B.      Plaintiff Has Produced No Evidence Establishing A Causal Connection
                 Between Any Alleged “Materially Adverse Employment Action” She
                 Suffered And The So-Called “Discrimination” Claims She Raised

         Ms. Braunstein is unable to demonstrate the requisite causal connection because her

termination was based upon a written performance evaluation (Defs.’ 56.1 ¶ 21) along with

multiple complaints raised against Ms. Braunstein by male and female coworkers alike. (Defs.’

56.1, ¶¶ 15-17, 23, 35-37; Wenger Aff., Exs. H, I, N, R, S, T; Rosen Decl., Ex. 2, at 180:20-

181:16; Rosen Decl., Ex. 3, at 39:19-40:14; 46:15-47:6). See Clerge v. Edison, No. 95 Civ.

9072, 1999 WL 239688, at *5 (S.D.N.Y. Apr. 23, 1999) (finding no retaliatory dismissal where

such dismissal was "plainly taken in response to plaintiff's frequent and well-documented

infractions"). In Ms. Braunstein’s written response to her performance evaluation, she did not

state that she felt the performance evaluation discriminated against her on the basis of any of her

protected characteristics. (Defs.’ 56.1, ¶ 27). The record reflects that Mr. Mariano met with and


8
    Claims of retaliation for engaging in protected conduct under NYSHRL are analyzed under the same McDonnell
    Douglas burden-shifting analysis. See cases cited in footnote 2, supra.


                                                     21
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 29 of 32



discussed Ms. Braunstein’s performance deficiencies, complaints from her coworkers, and

unprofessional behavior on numerous occasions. (Id., at ¶¶ 29-32, 35). Indeed, a recording

produced by Ms. Braunstein of a meeting between her and Mr. Mariano reflects that Mr.

Mariano supported Ms. Braunstein’s development as a bartender and encouraged her to develop

ideas and practices for use at the Hotel. (Id. at ¶ 32). Given these undisputed facts, there is no

doubt that Defendants had a legitimate belief that Ms. Braunstein engaged in such poor behavior.

       In light of all of the foregoing, Braunstein’s retaliation claims have no merit and should

be summarily dismissed.

                                               V.

               PLAINTIFF’S FOURTH CAUSE OF ACTION, SOUNDING
               IN NEGLIGENCE, MUST BE DISMISSED BECAUSE IT IS
               PREEMPTED BY THE WORKER’S COMPENSATION
               LAW

       Plaintiff’s negligent supervision claim should be dismissed because it is well-settled in

New York that such claims are preempted by New York’s Workers’ Compensation Law.

Workers' Compensation Law § 11 provides:

               The liability of an employer prescribed by the [Workers'
               Compensation Law] shall be exclusive and in place of any other
               liability whatsoever, to such employee . . . or any person otherwise
               entitled to recover damages, contribution or indemnity, at common
               law or otherwise, on account of such injury or death or liability
               arising therefrom.

Additionally, Workers' Compensation Law § 29(6) provides that workers' compensation benefits

“shall be the exclusive remedy to an employee . . . when such employee is injured . . . by the

negligence or wrong of another in the same employ.”

       New York courts have consistently found that claims for negligent supervision are

preempted by New York's Workers' Compensation Law. See, e.g., Ferris v. Delta Air Lines,

Inc., 277 F.3d 128, 138 (2d Cir. 2001) (finding New York Workers' Compensation Law barred

                                               22
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 30 of 32



negligent supervision claims arising out of sexual assault by a co-worker); Martinez v. Canteen

Vending Servs. Roux Fine Dining Chartwheel, 18 A.D.3d 274 (1st Dep't 2005) (“The exclusivity

of remedy provisions set forth in Workers' Compensation Law §§ 11 and 29(6) preclude

common-law negligence claims against defendants”).

       In the instant matter, because Plaintiff, while employed by Sahara, had workers'

compensation coverage, Plaintiff cannot assert a cause of action for negligent supervision against

Defendants as a matter of law.

                                               VI.

                      PLAINTIFF’S FIFTH AND SIXTH CAUSES OF
                      ACTION FAIL AS A MATTER OF LAW, BECAUSE
                      IT IS UNDISPUTED THAT DEFENDANTS
                      INVESTIGATED PLAINTIFF’S CLAIMS

       In the Fifth and Sixth Counts of her Complaint, Ms. Braunstein alleges that Defendants

“failed to act on Plaintiff’s claims of discrimination, harassment and hostile work environment.”

As previously noted, Plaintiff conceded that she is not pursuing sexual harassment claims. (See

ECF Doc. No. 22; see also Rosen Decl., Ex. 4, at 21:22-22:22); see supra fn.1. The remaining

claims contained in the Fifth and Sixth Causes of Action for discrimination and hostile work

environment based upon gender should fail because the record reflects that Defendants

conducted a prompt investigation of all claims asserted by Plaintiff during her employment.

       For example, when Ms. Braunstein complained about alleged inappropriate comments

made to her by a third-party tailor, Suzanne Paradi (“Ms. Paradi”) from the Hotel’s Human

Resources Department responded to Ms. Braunstein the next day that she would follow up on the

incident and inform the tailor that such comments were inappropriate and unwelcome. (Defs.’

56.1, ¶ 12). Plaintiff admitted at her deposition that she considered Ms. Paradi’s response to be

an appropriate response by someone from human resources, and that the response reflected that


                                               23
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 31 of 32



Ms. Paradi had sensitivity to what Plaintiff had complained about. (Id.; see Rosen Decl., Ex. 1,

at 172:18-173:6). Plaintiff also admitted at her deposition that the tailor whom she alleged had

made the inappropriate comments did not repeat them to her on another occasion following Ms.

Paradi’s remedial action. (Defs.’ 56.1, ¶ 12; Rosen Decl., Ex. 1, at 173:7-10). In addition, Ms.

Braunstein wrote to Ms. Paradi in an e-mail that Mr. Deroui allegedly told her to “grow up and

stop being such a baby.” (Defs.’ 56.1, ¶ 19). Ms. Paradi promptly responded that same day. (Id.

at ¶ 20). Plaintiff again admitted at her deposition that she thought Ms. Paradi’s response was

appropriate. (Id.).

       When Plaintiff complained about the behavior of Mr. McSloy, Mr. Mariano responded to

her that same day, apologized, and stated that he was in the process of getting witness

statements. (Id. at ¶ 13). Mr. Mariano explained that the morning bartenders, including Mr.

McSloy, expressed concern to the Union that their shift was being cut short, but that the team

would need to work together to resolve scheduling obstacles. (Id.). Mr. Mariano stated to

Plaintiff that “it is unacceptable that any colleague would treat another with disrespect” and told

her to “feel free to call [him] at any time to discuss this further.” (Id.). Mr. Hunt testified that he

and Kristin Stabile, the interim Director of Human Resources, assisted in the investigation. (Id.

at ¶ 14; see Rosen Decl., Ex. 3, at 37:21-39:23). Plaintiff, Mr. McSloy, and additional witnesses

were interviewed. (Defs.’ 56.1, ¶ 14). Mr. Marini, one of the witnesses, revealed that Plaintiff

“was actually [verbally] bullying [Mr. McSloy] beforehand.” (Id.; see Rosen Decl., Ex. 3, at

39:24-40:3).

       Despite Plaintiff’s current allegations against Mr. Mariano, Plaintiff admitted at her

deposition that she never accused Mr. Mariano of being biased against female employees, and

there is no evidence in the record to support that she complained about Mr. Mariano during her



                                                  24
        Case 1:16-cv-08879-VSB Document 35 Filed 03/14/18 Page 32 of 32



employment. (Rosen Decl., Ex. 1, at 97:24-98:1). Mr. Mariano wrote to Ms. Braunstein that she

could address any concerns to him or to Mr. Hunt. (Defs.’ 56.1, ¶¶ 13, 29). Ms. Braunstein in

fact met with Mr. Mariano multiple times to discuss disagreements she had with her female and

male colleagues and her performance review. (Rosen Decl., Ex. 2, at 239:17-242:7; 245:17-

246:8; see generally id., Ex. 5). The record reflects that Defendants continuously exercised

reasonable care to prevent and correct promptly any unlawful conduct.         The Court should

summarily dismiss Plaintiff’s Fifth and Sixth Causes of Action.



                                       CONCLUSION

       For all of the forgoing reasons, Defendants respectfully request that their motion for

summary judgment be granted and that the Complaint by dismissed in its entirety.

                                                    Respectfully submitted,

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                                                    Attorneys for Defendants

                                                    By: /s/ David I. Rosen
                                                        David I. Rosen



Dated: March 14, 2018




                                               25
